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 1   ERIC W. SWANIS
     Nevada Bar No. 06840
 2   ELLIOT T. ANDERSON
 3   Nevada Bar No. 14025
     GREENBERG TRAURIG, LLP
 4   10845 Griffith Peak Drive, Suite 600
     Las Vegas, Nevada 89135
 5   Telephone: (702) 792-3773
     Facsimile:     (702) 792-9002
 6   Email: swanise@gtlaw.com
 7            andersonel@gtlaw.com

 8   Counsel for Plaintiff, PacketFabric, Inc.

 9
                             IN THE UNITED STATES DISTRICT COURT
10
                                   FOR THE DISTRICT OF NEVADA
11
     PACKETFABRIC, INC.,                                     Case No. 2:24-cv-00618-GMN-EJY
12
                                    Plaintiff,
13
             v.
14
     DAVID WARD, an individual; ROE ENTITIES
15   I through X; and DOES I through X, inclusive,
16                                  Defendants.
17

18                  STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH
19                                               PREJUDICE
20           IT IS HEREBY STIPULATED AND AGREED, pursuant to Federal Rule of Civil
21   Procedure 41(a)(1)(A)(ii) and Local Rule 7-1, by and between Plaintiff, PACKETFABRIC, INC.
22   (“Plaintiff”), and Defendant, DAVID WARD (“Defendant” or “Ward” and, collectively with
23   Plaintiff, the “Parties”), by and through their undersigned counsel, that this action be dismissed in
24   its entirety with prejudice, with the Parties to bear their own attorney fees and costs.
25   ///
26   ///
27   ///
28   ///

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